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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provide
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiatin
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed: Cases Below.

I. (a) PLAINTIFFS DEFENDANTS
Sean D'Epagnier Michal Brablc et al.
£ Resi : . Le . : :
(b) County of Residence of First Listed Plaintiff D co junty of Residence of First Listed Defendant \y4 onroe County FL
(EXCEPT IN U.S. PLAINTIFF | E- (IN U.S. PLAINTIFF CASES ONLY)
NQTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
. THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) FEB 2 0 1005 Altorneys (If Known)
See Attached
(d) Check County Where Action Arose: [ MIAMI- DAD O MaRTIN [)sT.LucIE DJ INDIANRIVER [] OKEECHOBEE [J HIGHLANDS
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X”’ in One Box for Plaintiff)
(For Diversity Cases Only) and One Box for Defendant)
O 1. U.S. Government 3 = Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) O Citizen of This State O1 (1 __ Incorporated or Principal Place O4 o4
of Business In This State
O 2. U.S. Government o4 Diversity O Citizen of Another State O 2 © 2 Incorporated and Principal Place O5 05
Defendant (indicate Citizenship of Parties in Item III) of Business In Another State
ays ‘ect of
pitizen az Subject ofa O3 © 3 Foreign Nation o6 O86
IV. NATURE OF SUIT (Place an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions
: CONTRACT So oo TORTS a CPORFEITUREPENALTY BANKRUPTCY — 7: COTHER STATUTES
0 110 Insurance PERSONAL INJURY PERSONAL INJURY [7 625 Drug Related Seizure O) 422 Appeal 28 USC 158 O 375 False Claims Act
Cl 120 Marine C310 Airplane 365 Personal Injury - of Property 21 USC 881 © 423 Withdrawal © 376 Qui Tam (31 USC 3729(a)
0 130 Miller Act ( 315 Airplane Product Product Liability 0 690 Other 28 USC 157 400 State Reapportionment
UO 140 Negotiable Instrument Liability {1 367 Health Care/ O 410 Antitrust
£1150 Recovery of Overpayment 1] 320 Assault, Libel & Pharmaceutical INTELLECTUAL SROFERTY () 430 Banks and Banking
& Enforcement of Judgment Slander Personal Injury C1 820 Copyrights O 450 Commerce
0 151 Medicare Act 0 330 Federal Employers’ Product Liability 0D 830 Patent O 460 Deportation
(152, Recovery of Defaulted Liabili 1 835 Patent — Abbreviated —) 470 Racketeer Influenced
Student Loans ty O 368 Asbestos Personal o New Drug Application and Corrupt Organizations
. Injury Product Liability 840 Trademark 480 Consumer Credit
(Excl. Veterans) 0 340 Marine oO 880 Defend Trade Secrets 0 (15 USC 1681 or 1692)
C0 153 Recovery of Overpayment 1] 345 Marine Product LABOR - SOCIAL SE CURITY oO $85 Telephone con
of Veteran’s Benefits Liability PERSONAL PROPERTY [1 710 Fair Labor Standards Acts [1 861 HIA (1395ff) O 490 Cable/Sat TV
0) 160 Stockholders’ Suits C1 350 Motor Vehicle 1 370 Other Fraud O 720 Labor/Mgmt. Relations (© 862 Black Lung (923) © 850 Securities/Commodities/
1 190 Other Contract 0 355 Motor Vehicle © 371 Truth in Lending O 740 Railway Labor Act O 863 DIWC/DIWW (405(g)) Exchange
DO 195 Contract Product Liability Product Liability C) 380 Other Personal 0 751 Family and Medical DD 864 SSID Title XVI 0 890 Other Statutory Actions
O 196 Franchise 0 360 Other Personal Property Damage Leave Act O 865 RSI (405(g)) © 891 Agricultural Acts
Injury (1 385 Property Damage O 790 Other Labor Litigation O 893 Environmental Matters
0 362 Personal Injury - Product Liability O 791 Employee Retirement 0) 895 Freedom of Information Ac
Med. Malpractice / Income Security Act OQ 896 Arbitration
REAL PROPERTY = CIVIL RIGHTS: PRISONER PETITIONS FEDERAL TAX SUITS O 899 Administrative Procedure
: + tae 87 .S. Plaintiff Act/Revi A 1 of
1 210 Land Condemnation im 440 Other Civil Rights Habeas Corpus: of Gena) © S. Plaintiff or Agency Decision °
{1 220 Foreclosure O 441 Voting O 463 Alien Detainee Oo S71 IRS— Third Party 26 USC 5 200 Constitutionality of
0 230 Rent Lease & Ejectment 0 442 Employment Oo 310 Motions to Vacate
443 Housin,
C1 240 Torts to Land 0 443 Housing/. C1 530 General
[] 245 Tort Product Liability 0 445 Amer. w/Disabilities- (1 535 Death Penalty i IMMIGRATION
© 290 All Other Real Property Employment Other: LD 462 Naturalization Application
O 446 Amer. w/Disabilities - [1 540 Mandamus & Other (©) 465 Other Immigration
Other DO 550 Civil Rights Actions
CO 448 Education O_ 555 Prison Condition
560 Civil Detainee —
O Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only) o oo.
1 Original 2 Removed [] 3 Re-filed 4 Reinstated 5 Transferred from 6 Multidistrict 7 Appeal t CB pptesdictrs
S © Proceeding "from State (SeeVi or 0 nies yusmnct hitigation n District Tudge Litigation 219 Appellate Court
Court below) Reopened from Magistrate = Direct
Judgment File
VI. RELATED/ (See instructions): a) Re-filed Case CYES TINO b) Related Cases CIYES NO
RE-FILED CASE(S) JUDGE: DOCKET NUMBER:

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION Fourth, Eighth, and Fourteenth Ammendment claims for civil rights violations 42 U.S.C. Section 1983

LENGTH OF TRIAL via days estimated (for both sides to try entire case)
VOI. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION : : laint:
COMPLAINT: UNDER FRCP. 23 DEMAND $ 200,000 CHECK YES only if demanded in complaint:

JURY DEMAND: O Yes = No

ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE SIGNATURE OF ATTORNEY OF RECORD

02/15/2025 Sean D'Epagnie Abs.

FOR OFFICE USE ONLY : RECEIPT # AMOUNT IFP JUDGE MAG JUDGE

Case 4:25-cv-10018-JEM Document 1-1 Entered on FLSD Docket 02/20/2025 Page 2 of 2

Civil Cover Sheet Contact Information

I (c)

Pro Se

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